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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )
v.                                            )                 1:18-CR-02664-JCH
                                              )
VICTORIA ROMO                                 )
                                              )
                       Defendant.             )


                               NOTICE OF UNAVAILABILITY

       Nicole W. Moss, counsel for the defendant, hereby gives this Court notice that she is

unavailable on the following dates and for the following reasons. Ms. Moss respectfully requests

that the court not schedule hearings during this time period.

       From July 19, 2019 through July 26, 2019, Ms. Moss will be on vacation out of state.



                                                     Respectfully submitted by:

                                                     _/s/ Nicole W. Moss
                                                     Nicole W. Moss
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        I hereby certify that a true and correct copy of the foregoing pleading was electronically
delivered to the following counsel via CM/ECF, this 15th day of July, 2019.

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E-mail: Kimberly.brawley@usdoj.gov
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/s/ Nicole W. Moss____
Nicole W. Moss




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